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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                              WAYCROSS DIVISION

 COALITION FOR GOOD
 GOVERNANCE and DONNA CURLING,
                                                     Civil Action No. 5:23-mc-00001-LGW-
                                                     BWC
 Plaintiffs,
                                  In RE Subpoenas issued by the United
 v.
                                  States District Court
                                  For the Northern District of Georgia,
 COFFEE COUNTY BOARD OF ELECTIONS
                                  Atlanta Division,
 AND REGISTRATION,
                                  Civil Action File No. 1:17-CV-2989-AT
 Defendant.

  NOTICE OF INTENT TO SERVE SUBPOENA TO PRODUCE DOCUMENTS IN A
                  CIVIL ACTION ON NON-PARTY GBI

       YOU are hereby notified, pursuant to Rule 45 of the Federal Rules of Civil Procedure

that Defendant Coffee County Board of Elections and Registration will proceed to serve on the

Georgia Bureau of Investigations, a subpoena commanding the production of documents,

information or objects on a non-party. A copy of said subpoena is attached hereto as Exhibit “A”.



       This 30th day of October, 2023.
                                                    OLIVER MANER LLP

                                                    /s/ Benjamin M. Perkins
Oliver Maner LLP                                    BENJAMIN M. PERKINS
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                                                    Registration




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                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day caused electronic notification of filing and service of
the foregoing to be made upon counsel of record for the parties by filing the same using the Court’s
CM/ECF filing system.




       This 30th day of October, 2023.
                                                      OLIVER MANER LLP

                                                      /s/ Benjamin M. Perkins
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